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 PROB35                    Report and Order Terminating Probation/Supervised Release
                                                                                                    FILED
(Rev, 6/17)                               Prior to Original Expiration Date
                                                                                             U.S. DISTRICT COURI
                                                                                                 AUGUSTA n;V.

                                          United States District Court                      2018 HAY n PH2-56
                                                      FOR THE
                                      SOUTHERN DISTRICT OF GEORGIA
                                                                                            CLERK
                                                 DUBLIN DIVISION                                              GA.




              UNITED STATES OF AMERICA


                              V.                                 Crim.No.     3:08CR00001-9


                       Dennis Wilcher



On September 12, 2014, the above named was placed on supervised release for a period of five years. He has
complied with the rules and regulations of supervised release and is no longer in need of supervision. It is
accordingly recommended that he be discharged from supervision.

                                                               Respectfully submitted,



                                                               TonVGraha
                                                               United States Probation Officer



                                             ORDER OF THE COURT

          Pursuant to the above report, it is ordered that the defendant is discharged from supervision and that the
proceedings in the case be terminated.

          Dated this                    day of                               20 8.




                                                             Ducfley H. Bow<^Jr.
                                                             United States District Judge
